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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

SHEILA ROBINSON ,                             §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §          CIVIL ACTION H-14-581
                                              §
GC SERVICES, LP,                              §
                                              §
       Defendant.                             §


                                           O RDER

       The joint stipulation of dismissal with prejudice (Dkt. 10) is GRANTED. It is therefore

ORDERED that this cause of action is DISMISSED with prejudice. Each party shall bear their own

fees and costs.



       Signed at Houston, Texas on October 31, 2014.




                                           ___________________________________
                                                       Gray H. Miller
                                                 United States District Judge
